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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________x
                                                :
GWYNN X. KINSEY, JR.,                           :
                                                :
                                    Plaintiff,  :
                                                :
            - against -                         :    No. 1:18-cv-12345-VSB
                                                :
THE NEW YORK TIMES COMPANY,                     :
                                                :
                                    Defendant.  :
                                                :
________________________________________________x




     REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF MOTION
           TO DISMISS AMENDED COMPLAINT BY DEFENDANT
                  THE NEW YORK TIMES COMPANY




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       The New York Times Company (“The Times”) respectfully submits this reply

memorandum of law in further support of its motion to dismiss the First Amended Complaint.

                                PRELIMINARY STATEMENT

       The crux of the claim by Plaintiff Gwynn X. Kinsey, Jr., is this: Times reporter Katie

Benner knew that the young administrative assistant who was publicly groped in a barroom by

Mr. Kinsey – a married man nearly twice her age, a veteran Justice Department lawyer, and a

supervisor in her unit – actually wanted to be treated that way, and therefore Ms. Benner acted

with actual malice in quoting from the sworn declaration of an eyewitness who said the groping

was unwelcome and in failing to do additional reporting. Dkt. 11, First Amended Complaint

(“Am. Compl.”) ¶ 15. For her part, the young woman told Ms. Benner: “I have always wanted to

pursue a career with the Department of Justice, but it failed me when I reported misconduct. No

woman should feel compelled to deal with the pervasive harassment that I experienced, much

less have her complaint be effectively disregarded.” Id. Ex. 2.

       Mr. Kinsey alleges that he was libeled when Ms. Benner quoted from the eyewitness

declaration, filed in a federal civil case by a law school intern, Luke Woolman, who spoke up

about Mr. Kinsey’s misbehavior. Id. Ex.5. Mr. Kinsey’s claim is as preposterous as it sounds.

       More specifically, Mr. Kinsey’s opposition to The Times’s motion to dismiss fails for

two reasons. First, New York law’s fair report privilege applies and provides an absolute defense

to quoting a court document like Mr. Woolman’s declaration. Second, Mr. Kinsey, a veteran

DOJ official who was praised for his leadership and innovation by Attorney General Eric Holder

and served as counsel of record in a string of important capital cases for the Government, is a

“public official” who must prove that The Times acted with actual malice. His Amended

Complaint fails to lay out a plausible case that The Times did so. His own pleadings show that



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The Times’s reporter diligently sought the truth through interviews, review of court records, and

outreaches to Mr. Kinsey’s attorney, who served as his press spokesman.

                                          ARGUMENT

                                         I.
                             THE FAIR REPORT PRIVILEGE
                          DEFEATS MR. KINSEY’S LIBEL CLAIM

A.     New York Law Provides an Absolute Privilege to The Times

       As set forth in The Times’s opening memorandum of law, New York law provides an

absolute defense to publishers who provide a fair and accurate account of court records. See Dkt.

13, Defendant’s Memorandum (“NYT Br.”) at 10-13.

       Mr. Kinsey grasps at straws in challenging invocation of the New York privilege. He

cites two New York cases that stand for the unexceptional proposition that a news article needs

to make clear that statements are coming from court documents and not from interviews for the

privilege to attach. See Dkt. 15, Plaintiff’s Opposition Memorandum (“Pl. Br.”) at 7. That is not

an issue here. In quoting Mr. Woolman’s testimony, The Times’s article explicitly attributes the

sentence not to any interview but to Mr. Woolman’s court-filed declaration. Am. Compl. Ex. 5.

       Mr. Kinsey then asserts that the privilege should not apply unless it is clearer what case

the document comes from. Pl. Br. at 7-8. But he cites no law to support that proposition. And

even a casual reading of the article shows that it is unambiguous in stating that the declarations

cited, including Mr. Woolman’s, came from the discrimination suit brought by Jacabed

Rodriguez-Coss, who had worked in Mr. Kinsey’s unit. See Am. Compl. Ex. 2 at 4. There is

nothing cryptic here. The article says, “Seven men and women from the unit filed declarations in

[Ms. Rodriguez-Coss’s] support” in her lawsuit. Id. It then goes on to talk about what the

“employees said in their declarations,” the “court declarations” of current and former employees,



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and subsequently what Mr. Woolman “wrote in his declaration.” Id. at 4, 6. No reasonable reader

would miss the fact that The Times was discussing the declarations from the discrimination case.

B.     New York Law Applies to the Issue of Privilege

       Mr. Kinsey also argues that the law of the District of Columbia should apply to the

privilege issue. Pl. Br. at 9. His choice-of-law analysis is mistaken.

       In actions based on diversity jurisdiction, the existence and scope of a privilege is

determined by state law. Fed. R. Evid. 501; Application of Am. Tobacco Co., 880 F.2d 1520,

1527 (2d Cir. 1989); Don King Prods., Inc. v. Douglas, 131 F.R.D. 421, 423 (S.D.N.Y. 1990).

The court is to apply the choice-of-law rules of the state in which it sits to determine which

state’s law applies. AroChem Int'l, Inc. v. Buirkle, 968 F.2d 266, 269-70 (2d Cir. 1992).

       While defamation actions are often governed by the law of the plaintiff’s domicile, in

multistate cases it is not always apparent which state has the greatest interest, and the applicable

state law may vary from issue to issue within a single libel litigation. Adelson v. Harris, 973 F.

Supp. 2d 467, 476-78 (S.D.N.Y. 2013). “Thus, in cases where an allegedly defamatory statement

is published nationally, there is only a ‘presumptive’ rule that the law of plaintiff's domicile

applies, which ‘does not hold true ... if with respect to the particular issue, some other state has a

more significant relationship to the issue or the parties.’ ” Id. at 477 (quoting Davis v. Costa-

Gavras, 580 F. Supp. 1082, 1091 (S.D.N.Y. 1984)) (other internal marks omitted).

       That principle applies in respect to privilege. New York cases have recognized that

publishers or speakers invoking a privilege should be able to rely on their local law’s protection

of their speech rights – those that shaped their conduct at the time of publication. In weighing the

interests of the competing jurisdictions in the choice-of-law analysis, courts are directed under to

focus first on whether “the purpose of the law is to regulate conduct or allocate loss.”



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Lilarn Properties Corp., 84 N.Y.2d 519, 521 (1994). The purpose of a privilege falls into the

first category: conduct-regulation. AroChem, 968 F.2d at 270 (judicial proceeding privilege);

Stephens v. Am. Home Assurance Co., 1995 WL 230333, at *7 (S.D.N.Y. April 17, 1995)

(reporter’s privilege). And, in privilege cases, the conduct at issue is speech – whether someone

will be compelled to speak or face liability for speech – making the locus of the speaker the

critical factor in the choice-of-law analysis. It is the speaker who needs to be able to predict the

consequences of his or her speech acts, and it is the state where the speaker is domiciled that has

the greatest interest in setting the scope of the privilege, as AroChem demonstrates.

       The issue in AroChem was whether a California resident could rely on California’s

judicial proceeding privilege in a case touching on multiple jurisdictions. The court held:

       The judicial-proceeding privilege would lose its force if weight were given to the
       domicile of the parties or the place of injury in determining choice of law. Were the law
       of some other state to be applied in the case of California’s judicial-proceeding privilege,
       for example, the incentive of parties to California litigation to rely upon that privilege
       would be gravely undermined because they cannot ensure tort litigation will occur in
       California.

968 F.2d at 270. The same result was reached in Barricade Books, Inc. v. Langberg, 2000 WL

1863764 (S.D.N.Y. Dec. 19, 2000), where a lawyer from California was protected by the same

California privilege. Id. at *7-8. Likewise, in Stephens, the court applied the law of the

publisher’s domicile, relying on similar reasoning in respect to the reporter’s privilege. “New

Jersey has expressed a strong interest in protecting the activities of its domiciliary news

publishers through application of its privilege law.” 1995 WL 230333, at *7.

       The same strong interest in protecting publishers and their reliance on local law is found

in New York. In Winter v. Holmes, 22 N.Y.3d 300 (2013), the Court of Appeals declined to

enforce a Colorado criminal subpoena served on a New York reporter, even though her reporting

took place in Colorado, because of New York’s history of protecting journalists’ right to have


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anonymous sources and the likelihood that Colorado would not protect that right. “[A]s a New

York reporter, Winter was aware of – and was entitled to rely on – the absolute protection

embodied in our Shield Law when she made the promises of confidentiality that she now seeks

to honor.” Id. at 316; see also, e.g., Davis, 580 F. Supp. at 1092 (“New York, as the national

center of the publishing industry, has a significant interest in assuring that the risks and liabilities

flowing from publishing . . . will be uniform.”); Weinstein v. Friedman, 1996 WL 137313, at *8

(S.D.N.Y. Mar. 26, 1996) (same), aff’d, 112 F.3d 507 (2d Cir. 1996).

        Here, the decision to publicize Mr. Woolman’s testimony was made by The Times, a

New York publisher and the sole defendant, which reasonably relied on the state’s broad fair

report privilege. That overarching interest dictates that New York law should apply here.

C.      The Complaint Would Merit Dismissal Even if New York Law Did Not Apply

        If New York law did not apply, the law of Maryland, Mr. Kinsey’s domicile state, would

govern. Though Mr. Kinsey asserts he suffered professional harm in the District of Columbia,

that harm – his demotion and move to a different division, Am. Compl. ¶ 8 – flowed from his

misconduct, not the publication of the article. Mr. Kinsey points to D.C. as the location of the

Capital Case Section offices (where he was not employed when the article was published) and

the place of the “investigative proceedings” into his misbehavior (which were not the subject of

the alleged libel), but fails to explain the legal relevance of these facts. Put simply, any interest

D.C. has in this case is marginal relative to Maryland’s interest in protecting its citizens from

allegedly tortious conduct. See, e.g., Catalanello v. Kramer, 18 F. Supp. 3d 504, 512-13

(S.D.N.Y. 2014) (applying law of New Jersey, where plaintiff was domiciled, even though he

claimed “reputational harm” in New York). And Maryland’s privilege, like New York’s, is not




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overcome by actual malice. See NYT Br. at 10 n.6; Piscatelli v. Van Smith, 35 A.3d 1140, 1149

& n.3 (Md. 2012).

       Mr. Kinsey argues for the application of the D.C. privilege, which he says is overcome by

a showing of common-law malice (though some courts hold that a showing of actual malice is

required). See, e.g., Harper v. Walters, 822 F. Supp. 817, 824 (D.D.C. 1993) (“The privilege also

is waived if the report was published with actual malice.” (citing Johnson v. Johnson Publ’g Co.,

271 A.2d 696, 698 (D.C. 1970)), aff'd, 40 F.3d 474 (D.C. Cir. 1994). In truth, the scope of D.C.’s

privilege is “unsettled,” White v. Fraternal Order of Police, 909 F.2d 512, 528 (D.C. Cir. 1990),

and some D.C. decisions have found it to be absolute. See, e.g., Dowd v. Calabrese, 589 F. Supp.

1206, 1217 (D.D.C. 1984) (“Fair and accurate accounts of official reports or records are

absolutely protected from defamation actions.” (citing Restatement (Second) of Torts (1977), §

611)); Liberty Lobby, Inc. v. Dow Jones & Co., 838 F.2d 1287, 1302 (D.C. Cir. 1988) (“[T]he

Garment column’s reference to this action is absolutely privileged as an accurate report of a

judicial proceeding.”). We believe these latter cases more faithfully reflect the actual law of

privilege in the District of Columbia and are consistent with the widely accepted Restatement

view that “the privilege exists even though the publisher himself does not believe the defamatory

words he reports to be true and even when he knows them to be false.” Restatement § 611 cmt.

a. 1

       But even if Mr. Kinsey is right, his complaint falls short of adequately pleading common-

law malice. He relies almost exclusively on his attorney’s statement that Ms. Benner was angry



1
  Indeed, though it contradicts itself, the Harper case noted exactly this point. 822 F. Supp. at
824 (“[The privilege] protects the publisher ‘even though the publisher himself does not believe
the defamatory words he reports to be true and even when he knows them to be false.’” (quoting
Restatement § 611 cmt. a)).

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during a single early phone call. See Pl. Br. at 3, 12. 2 He fails to mention, as shown in the

exhibits he filed, that Ms. Benner convincingly refuted that characterization the next day in

communications with the attorney. See Am. Compl. Ex. 1. In fact, the two proceeded to carry on

productive and professional communications, and – telling of a lack of ill will – The Times

incorporated into its article the rebuttal the attorney gave on his client’s behalf. Id. Ex. 2 at 8. Mr.

Kinsey then tries to use his allegations of constitutional actual malice as proof of common-law

malice. See Pl. Br. at 12-13. But actual malice goes to the publisher’s state of mind about the

truth, not about the plaintiff. St. Amant v. Thompson, 390 U.S. 727, 731 (1968) (actual malice

shown by finding that defendant knew publication was false or entertained serious doubts about

its truth). A hate-filled publisher can carefully pursue the truth; a congenial one can print obvious

falsehoods. There is, in other words, no plausible allegation of common-law malice. 3

                                       II.
                       THE COMPLAINT DOES NOT ADEQUATELY
                             ALLEGE ACTUAL MALICE

A.      Mr. Kinsey is a “Public Official” for Purposes of Libel Law

        As the Supreme Court said in Rosenblatt v. Baer, 383 U.S. 75 (1966), “Where a position

in government has such apparent importance that the public has an independent interest in the

qualifications and performance of the person who holds it, beyond the general public interest in

the qualifications and performance of all government employees, . . . the New York Times

malice standards apply.” Id. at 86; see NYT Br. at 17-18.
2
  Neither Mr. Kinsey nor his attorney has explained how they intend to address the “advocate
witness rule” and the clear conflict presented here where litigation counsel was a major player in
the underlying events and will ultimately provide key testimony regarding them, should the case
proceed to discovery. See, e.g., Skyline Travel, Inc. v. Skylink Travel, Inc., 2009 WL 1119418, at
*2 (S.D.N.Y. Apr. 23, 2009).
3
 As explained below and in The Times’s initial brief, there is also no plausible allegation of
constitutional malice. The Court therefore need not resolve the question of what evidentiary
showing, if any, can overcome the privilege under D.C. law.

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       As much as Mr. Kinsey tries to shrink himself and his career, it does not work. Mr.

Kinsey was the deputy in the DOJ unit charged with supporting the federal government’s most

serious criminal prosecutions, those involving the death penalty. But there is more. Attorney

General Eric Holder in 2013 described in detail the expansive and important role that Mr. Kinsey

played across DOJ when Mr. Kinsey was presented with a John Marshall Award:

       The John Marshall Award for Support of Litigation is presented to the Deputy Chief of
       the Capital Case Section of the Criminal Division, Gwynn “Charlie” Kinsey, for his
       exceptional contributions to pursuing capital punishment in the most significant violent
       crime cases handled by department prosecutors. With more than 22 years of experience in
       capital matters, his holistic approach to providing guidance to federal prosecutors
       requires extraordinary commitment and persistence. While being asked over the past two
       years to significantly increase the amount of litigation-related guidance he provides to
       federal prosecutors, Kinsey also continues to shoulder his policy and protocol review
       responsibilities on behalf of the department. His work has substantially contributed to the
       strong partnership between the Criminal Division and the United States Attorney’s
       Offices, and the result of this collaboration has been the successful prosecution of
       numerous significant violent crime cases. 4

It is impossible to read Mr. Holder’s statement and not see that Mr. Kinsey has been a leader in

charting the DOJ’s strategy in the country’s highest-profile – and most controversial –

prosecutions. He was himself counsel of record in several federal cases involving the death

penalty. See, e.g., United States v. Hammer, 564 F.3d 628 (3rd Cir. 2009); United States v. Lee,

274 F.3d 485 (8th Cir. 2001); Hunt v. Nuth, 57 F.3d 1327 (4th Cir. 1995).

       The hollowness of Mr. Kinsey’s argument is demonstrated by his attempt to equate

himself with the plaintiff in Nelson v. Globe Int’l, Inc., 626 F. Supp. 969 (S.D.N.Y. 1986). Pl. Br.

at 13-15. Mr. Kinsey repeatedly cites the case but fails to explain who the plaintiff was. Unlike

Mr. Kinsey, an award-winning leader at the DOJ, “Diane Nelson, of the Bureau of Nutrition, in



4
 Department of Justice, In 61st Year of DOJ Awards Program, Attorney General Holder
Recognizes Department Employees and Others for Their Service (Nov. 25, 2013),
http://bit.ly/2ZhAqun.

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New York, was instrumental in preparing this marshmallow-based diet to help GLOBE readers

lose up to a pound a day.” Id. at 971. That was the sole sentence Ms. Nelson sued over. Id.

       While Mr. Kinsey makes much of DOJ’s media contact policy (Pl. Br. at 15-16), it

applies to disclosure of “non-public, sensitive information obtained in connection with work,”

Department of Justice, Justice Manual (2018), 1-7.100, http://bit.ly/2XrMuaL – which had no

bearing on his ability to talk about his sex acts in a barroom. But, in any event, “[a]ccess to

the media is only one factor courts can consider . . . and is not dispositive of the question.”

Horne v. WTVR, LLC, 893 F.3d 201, 209 n.3 (4th Cir. 2018). In the seminal case on this issue,

Gertz v. Robert Welch, Inc., 418 U.S. 323 (1974), the Supreme Court addressed what really

mattered: the “compelling normative consideration underlying the distinction between public and

private defamation plaintiffs.” Id. at 344. Gertz applied the label of “public official” to those who

take leadership roles in government and must therefore expect scrutiny of their “fitness for office

[including] personal attributes.” Id. at 344-45. As an innovator in death penalty prosecutions, Mr.

Kinsey was precisely that.

B.     The Complaint Insufficiently Alleges Actual Malice

       Mr. Kinsey’s actual malice argument is straightforward: Ms. Benner had no basis for

quoting Mr. Woolman’s declaration testimony because she knew that the young woman wanted

to be groped in the barroom by a married superior in front of her work colleagues, based on her

communications with Mr. Kinsey’s attorney/representative. Pl. Br. at 17-22. The speciousness of

that assertion is made clear by Mr. Kinsey’s filings in this case. To this day, Mr. Kinsey and his

attorney still do not say what evidence exists that would have led Ms. Benner to know that the

administrative assistant wanted to be pawed by him. See, e.g., Pl. Br. at 20 (alluding vaguely to

“specific information” that The Times “likely would have obtained”).



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       Instead, the Amended Complaint and its exhibits establish that Ms. Benner pursued the

facts with diligence and a regard for the truth. The information that she sought out and collected

gave her every reason to believe that Mr. Woolman’s declaration was worthy of quoting. Among

other things, as the complaint and its exhibits show: (a) Mr. Woolman had made the statement

unambiguously in a sworn statement filed in a federal lawsuit, (b) the administrative assistant

herself asserted she was the victim of “misconduct,” (c) attorneys in Mr. Kinsey’s unit were told

by the victim that the groping was unwelcome and those attorneys reported the misconduct to

superiors at DOJ, and (d) Mr. Kinsey had been removed from his job and demoted. Ms. Benner

also pursued Mr. Kinsey’s side of the story and, despite getting only lawyerly double-talk and

evasion (see Am. Compl. Ex. 1), The Times’s article nonetheless reported that an inquiry had

made a favorable finding for Mr. Kinsey. 5 Mr. Kinsey’s remaining allegations are not probative

of actual malice, for reasons already explained by The Times. See NYT Br. at 20-23.




5
  Mr. Kinsey’s remark that The Times did not “bother[]” to file a Freedom of Information Act
request are particularly misdirected. Pl. Br. at 20. It did file such a request with the Merit
Systems Protection Board, further underlining its diligent efforts to get at the truth. See MSPB
FY18 FOIA Log, Quarter 3, http://bit.ly/2Xfger1.

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                                        CONCLUSION

       For all the reasons set forth above and in The Times’s moving memorandum of law, The

Times respectfully requests that the Court dismiss the Amended Complaint with prejudice under

Rule 12(b)(6) and grant such other and further relief as the Court deems just and proper.


Dated: New York, NY
       April 19, 2019
                                                            Respectfully submitted,

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